   Case: 1:16-cr-00159 Document #: 188 Filed: 11/06/20 Page 1 of 5 PageID #:1309




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
      vs.                                )             Case No. 16 CR 159-1
                                         )
ANTORONDI BENION                         )

                       MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

      Antorondi Benion pled guilty to access device fraud under 28 U.S.C. § 1029(a)(3)

and aggravated identity theft under 18 U.S.C. § 1028A(a)(1). Mr. Benion's crimes

involved using stolen military personnel records and data to fraudulently open financial

accounts and conduct "takeovers" of existing accounts held by the persons whose data

had been stolen. Mr. Benion also sold some of the data to another individual who he

knew planned to use it to file false tax returns on behalf of the persons whose data had

been stolen and fraudulently obtain refunds from the Internal Revenue Service.

      At sentencing, Mr. Benion faced an advisory Sentencing Guidelines range of 63-

78 months on the access device charge and a mandatory consecutive 24 months on the

identity theft charge, a total of 87 to 102 months. The government asked for a sentence

within the advisory range. The Court gave Mr. Benion a significant break from the

advisory range—about a year and a half. In May 2017, the Court imposed a sentence

of 46 months imprisonment on the access device charge and the mandatory

consecutive sentence of 24 months on the identity theft charge, for a total of 70 months

imprisonment.

      Mr. Benion began serving his prison sentence in August 2017, a little over 38
   Case: 1:16-cr-00159 Document #: 188 Filed: 11/06/20 Page 2 of 5 PageID #:1310




months ago. He is currently serving his sentence at Duluth FPC, and his anticipated

release date, given good time credits, is August 3, 2021. Mr. Benion has filed a motion

for early release under 18 U.S.C. § 3582(c)(1)(A). He cites his medical conditions and

the risks posed by the coronavirus. The parties agree that Mr. Benion has stage two

chronic kidney disease and that this puts him at a higher risk for an adverse outcome if

he contracts the coronavirus. See https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F

2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last viewed Nov.

6, 2020).

      As of today's date, there are 27 inmates at Duluth FPC who have currently tested

positive for coronavirus and 11 others who previously tested positive and have

recovered. https://www.bop.gov/coronavirus/ (last viewed Nov. 6, 2020). This is a

greater number of positive-testing inmates than when Mr. Benion filed his motion, but

far fewer than many other Bureau of Prisons institutions.

      Mr. Benion's motion is made under section 603(b) of the First Step Act, which

amended 18 U.S.C. § 3582(c)(1)(A) to provide a greater role for courts in determining

whether to reduce a defendant's sentence based on "extraordinary and compelling

reasons" warranting a reduction. As amended, and as applicable here, the statute

provides that

      [t]he court may not modify a term of imprisonment once it has been
      imposed except that—

      (1) in any case—

                (A) the court, upon motion of the Director of the Bureau of Prisons,

                                              2
   Case: 1:16-cr-00159 Document #: 188 Filed: 11/06/20 Page 3 of 5 PageID #:1311




       or upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant's behalf or the lapse of 30 days from the receipt
       of such a request by the warden of the defendant's facility, whichever is
       earlier, may reduce the term of imprisonment (and may impose a term of
       probation or supervised release with or without conditions that does not
       exceed the unserved portion of the original term of imprisonment), after
       considering the factors set forth in section 3553(a) to the extent that they
       are applicable, if it finds that—

              (i) extraordinary and compelling reasons warrant such a reduction;

              ...

              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1)(A).

       The parties agree that Mr. Benion has satisfied the administrative exhaustion

requirement and that his kidney disease plus the coronavirus pandemic amounts to an

"extraordinary and compelling reason[ ]" that would permit a sentence reduction. The

Court also finds that policy statements issued by the Sentencing Commission even

before the passage of the First Step Act included an open-ended provision broad

enough to cover the circumstances argued by Mr. Benion. See U.S.S.G. § 1B1.13, app.

note 1(D). See, e.g., United States v. Reyes, No. 04 CR 970, 2020 WL 1663129, at *2

(N.D. Ill. Apr. 3, 2020) (Leinenweber, J.).

       This, however, does not entitle Mr. Benion to a sentence reduction. Before a

court may reduce a sentence, it must consider the factors regarding imposition of an

appropriate sentence set forth in 18 U.S.C. § 3553(a). See 18 U.S.C. § 3582(c)(1)(A).

These include Mr. Benion's history and characteristics; the nature and circumstances of

his crimes; due consideration of the seriousness of the crimes; promoting respect for

the law; providing just punishment; affording adequate deterrence; protecting the public

                                              3
   Case: 1:16-cr-00159 Document #: 188 Filed: 11/06/20 Page 4 of 5 PageID #:1312




from further crimes by Mr. Benion; and providing him with any necessary services and

treatment.

       The amount of time served to date by Mr. Benion does not adequately account

for the seriousness of his offense; the Court concluded as much when it sentenced him

to a prison term totaling 70 months. In addition, Mr. Benion, who is now 43 years old,

has a significant criminal history: a 1995 conviction (at age 17) for armed robbery; a

1999 conviction for forgery, a 2008 conviction for forgery; a 2010 conviction for

possession of a controlled substance; and a 2014 conviction for forgery. Before the

present case, he had served four periods of imprisonment (including one for a parole

violation), during each of which he served one year or more in custody. Despite this,

Mr. Benion committed the very serious crimes for which he was convicted in the present

case, which put at risk the financial well-being of numerous American military personnel.

       Mr. Benion argues that he does not pose a danger to the community because

none of his convictions are for violent offenses aside from his 1995 robbery conviction,

which happened quite a long time ago. But this assumes that the only way a person

can pose a danger is by committing a violent offense. Mr. Benion has a relatively recent

history of fraud-related offenses, including the crimes for which he is now serving a

prison sentence. Those crimes unquestionably put others at serious risk, if not

physically then financially. And despite Mr. Benion's argument that he likely has "aged

out" of committing such crimes, the Court is not entirely persuaded: he was already in

his late 30s when he committed the very serious financial crimes for which he was

convicted in this case.

       In sum, the Court is not persuaded that consideration of the factors in 18 U.S.C.



                                            4
   Case: 1:16-cr-00159 Document #: 188 Filed: 11/06/20 Page 5 of 5 PageID #:1313




§ 3553(a) warrants a further reduction of Mr. Benion's sentence beyond the break that

he received via the below-range sentence that the Court imposed.

                                      Conclusion

      For the reasons stated above, the Court respectfully denies Mr. Benion's motion

for a sentence reduction [dkt. no. 179]. Mr. Benion remains fully eligible for home

detention as of early February 2021, as indicated by Bureau of Prisons records.

Date: November 6, 2020

                                                ________________________________
                                                     MATTHEW F. KENNELLY
                                                     United States District Judge




                                            5
